     Case 2:18-cv-04988-RSWL-AS Document 1 Filed 06/05/18 Page 1 of 8 Page ID #:1




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 7

 8

 9
                         UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11

12
     BENJAMIN JONES,                           Case No.:

13
                  Plaintiffs,                  PLAINTIFF’S COMPLAINT
           v.                                  (Unlawful Debt Collection Practices)
14

15
     CAPIAL ONE BANK (USA) N.A.,
16
                  Defendant.
17

18

19         BENJAMIN JONES (Plaintiff), by his attorney, alleges the following
20
           against CAPIAL ONE BANK (USA) N.A., (Defendant):
21
        1. Plaintiff brings this action on behalf of himself individually seeking damages
22

23         and any other available legal or equitable remedies resulting from the illegal

24         actions of Defendant, in negligently, knowingly, and/or willfully contacting
25
           Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone

                                             -1-
                                    PLAINTIFF’S COMPLAINT
     Case 2:18-cv-04988-RSWL-AS Document 1 Filed 06/05/18 Page 2 of 8 Page ID #:2




           Consumer Protection Act (hereinafter “TCPA”), 47 U.S.C. § 227 et seq and
 1

 2         in violation of California’s Rosenthal Fair Debt Collection Practices Act
 3
           (hereinafter “RFDCPA”), Ca Civ. Code § 1788.17.
 4

 5                                JURISDICTION AND VENUE
 6
        2. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C.
 7
           §227(b)(3). See, Mims v. Arrow Financial Services, LLC, 132 S.Ct. 740
 8

 9         (2012), holding that federal and state courts have concurrent jurisdiction over

10         private suits arising under the TCPA.
11
        3. Venue is proper in the United States District Court for the Central District of
12
           California pursuant to 28 U.S.C § 1391(b) because Plaintiff resides within
13

14         this District and a substantial part of the events or omissions giving rise to the
15
           herein claims occurred, or a substantial part of property that is the subject of
16
           the action is situated within this District.
17

18
                                           PARTIES

19      4. Plaintiff is a natural person residing in Los Angeles County, in the city of Los
20
           Angeles, California.
21
        5. Defendant is a Virginia corporation conducting business in the State of
22

23         California with its principal place of business located in McLean, Virginia.

24      6. At all times relevant to this Complaint, Defendant has acted through its agents
25
           employees, officers, members, directors, heir, successors, assigns, principals,

                                               -2-
                                      PLAINTIFF’S COMPLAINT
     Case 2:18-cv-04988-RSWL-AS Document 1 Filed 06/05/18 Page 3 of 8 Page ID #:3




           trustees, sureties, subrogees, representatives and insurers.
 1

 2                             FACTUAL ALLEGATIONS
 3
        7. Defendant is a “person” as defined by 47 U.S.C. § 153 (10).
 4
        8. Defendant placed collection calls to Plaintiff seeking and attempting to
 5

 6
           collect on alleged debts incurred through purchases made on credit issued by

 7         Defendant.
 8
        9. Defendant placed collection calls to Plaintiff’s cellular telephone at phone
 9
           number (323) 601-31XX.
10

11      10. Defendant places collection calls to Plaintiff from phone numbers including,

12         but not limited to (800) 955-6600.
13
        11. Per its prior business practices, Defendant’s calls were placed with an
14
           automated dialing system (“auto-dialer”).
15

16      12. Defendant used an “automatic telephone dialing system”, as defined by 47
17         U.S.C. § 227(a) (1) to place its telephone calls to Plaintiff seeking to collect
18
           a consumer debt allegedly owed by Plaintiff, BENJAMIN JONES.
19

20
        13. Defendant’s calls constituted calls that were not for emergency purposes as

21         defined by 47 U.S.C. § 227(b)(1)(A).
22
        14. Defendant’s calls were placed to a telephone number assigned to a cellular
23
           telephone service for which Plaintiff incurs a charge for incoming calls
24

25         pursuant to 47 U.S.C. § 227(b)(1).


                                             -3-
                                     PLAINTIFF’S COMPLAINT
     Case 2:18-cv-04988-RSWL-AS Document 1 Filed 06/05/18 Page 4 of 8 Page ID #:4




        15. Defendant never received Plaintiff’s “prior express consent” to receive calls
 1

 2         using an automatic telephone dialing system or an artificial or prerecorded
 3
           voice on his cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
 4

 5      16. On or about November 6, 2017, Plaintiff called into Defendant’s company at
 6
           phone number (800) 955-6600. Plaintiff spoke with Defendant’s female
 7
           representative and requested that Defendant cease calling Plaintiff’s cellular
 8

 9         phone.

10      17. During the conversation, Plaintiff gave Defendant his social security number
11
           and date of birth to assist Defendant in accessing his account before asking
12
           Defendant to stop calling his cell phone.
13

14      18. Plaintiff revoked any consent, explicit, implied, or otherwise, to call his

15         cellular telephone and/or to receive Defendant’s calls using an automatic
16
           telephone dialing system in his conversation with Defendant’s representative
17
           on November 6, 2017.
18

19      19. Despite Plaintiff’s request to cease, Defendant continued to call Plaintiff on
20
           his cellular telephone after November 6, 2017.
21
        20. Despite Plaintiff’s request that Defendant cease placing automated collection
22

23
           calls, Defendant placed at least one hundred ninety (190) automated calls to

24         Plaintiff’s cellular telephone after November 6, 2017.
25


                                             -4-
                                    PLAINTIFF’S COMPLAINT
     Case 2:18-cv-04988-RSWL-AS Document 1 Filed 06/05/18 Page 5 of 8 Page ID #:5




                       FIRST CAUSE OF ACTION
 1
          NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
 2                        PROTECTION ACT
                            47 U.S.C. § 227
 3

 4      21. Plaintiff repeats and incorporates by reference into this cause of action the
 5
           allegations set forth above at Paragraphs 1-20.
 6
        22. The foregoing acts and omissions of Defendant constitute numerous and
 7

 8         multiple negligent violations of the TCPA, including but not limited to each
 9         and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
10
        23. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
11

12
           Plaintiff is entitled to an award of $500.00 in statutory damages, for each and

13         every violation, pursuant to 47 U.S.C. §227(b)(3)(B).
14
        24. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in
15
           the future.
16

17
                    SECOND CAUSE OF ACTION
       KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
18                 CONSUMER PROTECTION ACT
                        47 U.S.C. § 227 et. seq.
19

20
        25. Plaintiff repeats and incorporates by reference into this cause of action the
21
           allegations set forth above at Paragraphs 1-20.
22

23
        26. The foregoing acts and omissions of Defendant constitute numerous and

24         multiple knowing and/or willful violations of the TCPA, including but not
25


                                              -5-
                                     PLAINTIFF’S COMPLAINT
     Case 2:18-cv-04988-RSWL-AS Document 1 Filed 06/05/18 Page 6 of 8 Page ID #:6




             limited to each and every one of the above cited provisions of 47 U.S.C. §
 1

 2           227 et seq.
 3
          27. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
 4
             227 et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages,
 5

 6
             for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47

 7           U.S.C. § 227(b)(3)(C).
 8
          28. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in
 9
             the future.
10

11                       THIRD CAUSE OF ACTION
               DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT
12                     COLLECTION PRACTICES ACT
13
                           CA CIV CODE § 1788.17

14        29. Plaintiff repeats and incorporates by reference into this cause of action the
15
             allegations set forth above at Paragraphs 1-28.
16
          30. Defendant violated the RFDCPA based on the following:
17

18              a. Defendant violated the §1788.17 of the RFDCPA by continuously

19                  failing to comply with the statutory regulations contained within the
20
                    FDCPA, 15 U.S.C. § 1692 et seq.
21
     //
22

23   //
24   //
25


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                                       PLAINTIFF’S COMPLAINT
     Case 2:18-cv-04988-RSWL-AS Document 1 Filed 06/05/18 Page 7 of 8 Page ID #:7




                                PRAYER FOR RELIEF
 1

 2         WHEREFORE, Plaintiff, BENJAMIN JONES, respectfully requests
 3
        judgment be entered against Defendant, CAPITAL ONE BANK (USA) N.A., for
 4
        the following:
 5

 6
                               FIRST CAUSE OF ACTION

 7      31. For statutory damages of $500.00 multiplied by the number of negligent
 8
           violations of the TCPA alleged herein (190); $95,000.00;
 9
        32. Actual damages and compensatory damages according to proof at time of
10
           trial;
11
                              SECOND CAUSE OF ACTION
12

13
        33. For statutory damages of $1,500.00 multiplied by the number of knowing

14         and/or willful violations of TCPA alleged herein (190); $285,000.00;
15
        34. Actual damages and compensatory damages according to proof at time of
16
           trial;
17                               THIRD CAUSE OF ACTION
18
        35. Declaratory judgment that Defendant’s conduct violated the Rosenthal Fair
19
           Debt Collection Practices Act;
20
        36. Statutory damages of $1000.00 pursuant to the Rosenthal Fair Debt
21
           Collection Practices Act, Cal. Civ. Code §1788.30(b);
22
        37. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt
23
           Collection Practices Act, Cal. Civ Code § 1788.30(c), and;
24
        38. Actual damages and compensatory damages according to proof at time of
25
           trial;

                                            -7-
                                   PLAINTIFF’S COMPLAINT
     Case 2:18-cv-04988-RSWL-AS Document 1 Filed 06/05/18 Page 8 of 8 Page ID #:8




 1                             ON ALL CAUSES OF ACTION
 2      39. Actual damages and compensatory damages according to proof at time of
 3         trial;
 4      40. Costs and reasonable attorneys’ fees, and;
 5      41. Any other relief that this Honorable Court deems appropriate.
 6                                    JURY TRIAL DEMAND
 7      42. Plaintiff demands a jury trial on all issues so triable.
 8

 9                                            RESPECTFULLY SUBMITTED
10

11      Dated: June 4, 2018                   By: /s/ Alyson J. Dykes
                                              Alyson J. Dykes
12
                                              Attorney for Plaintiff, BENJAMIN JONES
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                                      PLAINTIFF’S COMPLAINT
